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8 UNITED STATES DISTRICT COURT
9 CENTRAL DISTRICT OF CALIFORNIA
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RADCLIFF DONGELL LAWRENCE, LLP. ) NO. CV 04-7775 RGK (MCx)
11 )
Plaintiff(s), ) STANDING ORDER REGARDING NEWLY
12 ) ASSIGNED CASES
v )
13 )
RICHARD DONGELL, JOHN LAWRENCE }
14 || MATTHEW BURES, JASON BOOTH, et al }
)
15 Defendant(s). )
)
16
17
~ DOCKETED ON CM
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20| READ THIS ORDER CAREFULLY. IT CONTROLS THIS CASE. SEP 2 7 2004
21 cf
BY sw’ _009
22 :
23 This action has been assigned to the calendar of Judge R. Gary Klausner. The responsibility for
24 | the progress of litigation in the Federal Courts falls not only upon the attorneys in the action, but upon
25] the Court as well. “To secure the just, speedy, and inexpensive determination of every action,” Federal
26} Rule of Civil Procedure 1, all counsel are hereby ordered to familiarize themselves with the Federal
27} Rules of Civil Procedure, particularly Federal Rules of Civil Procedure 16, 26, the Local Rules of the
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Central District of California, this Court’s Order for Jury Trial, and this Court’s Order for Court Trial.

UNLESS OTHERWISE ORDERED BY THE COURT, THE FOLLOWING RULES SHALL

APPLY:

SO GNNED

1. Service of the Complaint. The Plaintiff(s) shall promptly serve the Complaint in accordance
with Fed. R. Civ. P. 4 and file the proofs of service pursuant to Local Rule. Any Defendant(s) not timely
served shall be dismissed from the action without prejudice. Any “DOE” or fictitiously-named
Defendant(s) who 1s not identified and served within 120 days after the case is filed shall be dismissed
pursuant to Federal Rule of Civil Procedure 4(m).

2. Removed Actions. Any answers filed in state court must be refiled in this Court as a
supplement to the petition. Any pending motions must be re-noticed in accordance with Local Rule. If
an action 1s removed to this Court that contains a form pleading, i.e., a pleading in which boxes are
checked, the party or parties utilizing the form pleading must file an appropriate pleading with this Court
within thirty (30) days of receipt of the Notice of Removal. The appropriate pleading referred to must
comply with the requirements of Federal Rules of Civil Procedure, Rules 7, 7.1, 8, 9, 10 and 11.

3. Presence of Lead Counsel. The attorney attending any proceeding before this Court,

including all status and settlement conferences, must be the lead trial counsel.

4. Discovery. All discovery matters have been referred to a United States Magistrate Judge to
hear all discovery disputes. (The Magistrate Judge's initials follow the Judge's initials next to the case
number.) All documents must include the words “DISCOVERY MATTER?” in the caption to ensure
proper routing. Counsel are directed to contact the Magistrate Judge's Courtroom Deputy Clerk to
schedule matters for hearing. Please do not deliver courtesy copies of these papers to this Court.

The decision of the Magistrate Judge shall be final, subject to modification by the District court

‘Copies of the Local Rules are available on our website at “http:\\www.cacd.uscourts.gov” or they may be
purchased from one of the following:

Los Angeles Daily Journal West Group Metropolitan News
915 East 1st Street 610 Opperman Drive 210 South Spring Street
Los Angeles, CA 90012 P.O. Box 64526 Los Angeles, CA 90012

St. Paul, MN 55164-0526

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only where it has been shown that the Magistrate Judge's order is clearly erroneous or contrary to law.

Any party may file and serve a motion for review and reconsideration before this Court. The
moving party must file and serve the motion within ten (10) days of service of a written ruling or within
ten (10) days of an oral ruling that the Magistrate Judge states will not be followed by a written ruling.
The motion must specify which portions of the text are clearly erroneous or contrary to law, and the
claim must be supported by points and authorities. Counsel shall deliver a conformed copy of the
moving papers and responses to the Magistrate Judge's clerk at the time of filing.

5. Motions. Motions shall be filed and set for hearing in accordance with Local Rule, except
that this Court hears motions on Mondays commencing at 9:00 a.m. If Monday is a national holiday, this
Court will hear motions on the succeeding Tuesday. If the date the motion was noticed for hearing is not
available, the Court will issue a minute order continuing the date. Any opposition or reply papers due on
a holiday are due the preceding Friday, not the following Tuesday and must be hand-served or faxed to
opposing counsel on that Friday. Memoranda of Points and Authorities in support of or in
opposition to motions shall not exceed 20 pages. Replies shall not exceed 10 pages. Only in rare
instances and for good cause shown will the Court agree to extend these page limitations. Pursuant to
Local Rule, either a proportionally spaced or monospaced face may be used. A proportionally spaced
face must be 14-point or larger, or as the Court may otherwise order. A monospaced face may not
contain more than 10% characters per inch.

Without prior permission from the Court, no party may file more than one motion pursuant to
Fed.R.Civ. P. 56 regardless of whether such motion is denominated as a motion for summary judgment or
summary adjudication.

6. Proposed Orders. Each party filing or opposing a motion or seeking the determination of

any matter shall serve and lodge a proposed order setting forth the relief or action sought and a brief
statement of the rationale for the decision with appropriate citations.
7, Courtesy Copies. Counsel shall deliver a conformed (file stamped) courtesy copy of all

oppositions and replies to motions, including supporting documents to such filings. Courtesy copies
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shall be delivered to the Judge Klausner’s courtesy box, located on the first floor, (outside of the Clerk’s
office) Roybal Federal Building, 255 East Temple Street, Los Angeles, California 90012. Courtesy
copies of any other documents are not needed, unless specifically requested.

8. Telephonic Hearings. The Court does not permit appearances or arguments by way of
telephone conference calls.

9, Ex Parte Applications. The Court considers ex parte applications on the papers and does not
usually set these matters for hearing. Ex parte applications are solely for extraordinary relief and should
be used with discretion. See Mission Power Engineering Co. v. Continental Casualty Co., 883 F.Supp.
488 (C.D. Cal. 1995).

Counsel's attention is directed to Local Rule. The moving party shall serve the opposing party by
facsimile transmission and shall notify the opposition that opposing papers must be filed not later than
twenty-four hours following such facsimile service. If counsel does not intend to oppose an ex parte
application, he or she must inform the Courtroom Deputy Clerk at (213) 894-2649, Counsel shall deliver
a conformed courtesy copy of moving or opposition papers as previously set forth. The Courtroom
Deputy Clerk will notify counsel of the Court's ruling or a hearing date and time should the Court
determine that a hearing is necessary,

10. Continuances. This Court has a strong interest in keeping scheduled dates certain. Changes
in dates are disfavored. Therefore, a stipulation to continue the date of any matter before this Court must
be supported by a sufficient basis that demonstrates good cause why the change in the date is essential.
Without such compelling factual support, stipulations continuing dates set by this Court will not be
approved. Counsel requesting a continuance must lodge a proposed stipulation and order including a
detailed declaration of the grounds for the requested continuance or extension of time. See Local Rule.
Failure to comply with the Local Rules and this Order will result in rejection of the request without
further notice to the parties. Proposed stipulations extending scheduling dates do not become effective
unless and until this Court so orders. Counsel wishing to know whether a stipulation has been signed

shall comply with the applicable Local Rule.
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11. Communications with Chambers. Counsel shall not attempt to contact the Court or its
staff by telephone or by any other ex parte means, although counsel may contact the Courtroom Deputy
Clerk with appropriate inquiries, Counsel shall not contact the Courtroom Deputy regarding status of ex
parte application/ruling or stipulation/ruling. Counsel shall provide an extra copy of the document, along
with a self-addressed, stamped envelope. Counsel should list their facsimile transmission numbers along
with their telephone numbers on all papers to facilitate communication with the Courtroom Deputy.

12. Order Setting Scheduling Conference. Pursuant to Federal Rule of Civil Procedure 16(b),
the Court will issue an Order setting a Scheduling Conference as required by Federal Rule of Civil
Procedure 26 and the Local Rules of this Court. Strict compliance with Federal Rules of Civil Procedure
16 and 26 is required.

13. Notice of this Order. Counsel for plaintiff or plaintiff (if appearing on his or her own

behalf) shall immediately serve this Order on all parties, including any new parties to the action. If this

case came to the Court by a Petition for Removal, the removing defendant(s) shall serve this Order on all

other parties.

Gary Revepnas

R. GARY KLAUSNER ;
United States District Judge

DATED: SEP 27 204

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